
The Supreme Court affirmed the judgment of the Common Pleas on March 3d, 1884, in the following opinion :
Per Curiam.
In order to take a running account out of the statute of limitations, it is not necessary that the account should be strictly between merchant and merchant. It may be between other persons, provided the mutuality of accounts of the *281proper character exists. A charge or entry on a book of money is not such an item as is necessary. It is not for goods sold and delivered, nor for work and labor done. Money is not the proper subject of book account. The portion of the account rejected in this case was for the time when there were no mutual accounts. On the one- side, it was the payment of money only. The unquestioned facts in evidence justified the charge of the Court.
Judgment affirmed.
